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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW YORK; COMMONWEALTH OF
MASSACHUSSETTS; STATE OF HAWAIʻI;
STATE OF CALIFORNIA; STATE OF ARIZONA;
STATE OF COLORADO; STATE OF
CONNECTICUT; STATE OF DELAWARE; THE
DISTRICT OF COLUMBIA; STATE OF                             Case No. ________________
ILLINOIS; STATE OF MAINE; STATE OF
MARYLAND; ATTORNEY GENERAL DANA
NESSEL FOR THE PEOPLE OF MICHIGAN;
STATE OF MINNESOTA; STATE OF NEVADA;
STATE OF NEW JERSEY; STATE OF OREGON;
STATE OF RHODE ISLAND; STATE OF
VERMONT; STATE OF WASHINGTON; and
STATE OF WISCONSIN;

         Plaintiffs,

               v.

LINDA McMAHON, in her official capacity as
Secretary of Education; U.S. DEPARTMENT OF
EDUCATION; and DONALD J. TRUMP, in his
official capacity as President of the United States;

         Defendants.



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                        INTRODUCTION

       1.      The Department of Education is essential. Plaintiff States rely on the Department

for an extraordinary array of programs. The Department provides funds for low-income children

and students with disabilities. It enforces the laws that prohibit discrimination in education. It

administers federal student aid programs. These are just some of the key ways the congressional

acts governing the existence and responsibilities of the Department are deeply intertwined with the

education systems in Plaintiff States. Incredibly, all of these significant and statutorily-mandated

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functions were covered by a lean staff of only 4,133 people—until March 11, when the Department

of Education announced through a press release that it is reducing that staff by 50%. U.S.

Department of Education Initiates Reduction in Force, Press Release, Department of Education

(Mar.   11,   2025),    https://www.ed.gov/about/news/press-release/us-department-of-education-

initiates-reduction-force (“March 11 Press Release”). This massive reduction in force (RIF) is

equivalent to incapacitating key, statutorily-mandated functions of the Department, causing

immense damage to Plaintiff States and their educational systems.

        2.     Although the Department’s March 11 Press Release says that the Department “will

continue to deliver on all statutory programs that fall under the agency’s purview,” id., that

assertion is easily belied by the extent and effect of the RIF. So too is the assertion from Secretary

McMahon, later on March 11, that the terminations were the “first step” on the road to a “total

shutdown” of the Department. Filip Timotija, Education Secretary: Mass layoffs First Step Toward

Total Shutdown, The Hill (Mar. 12, 2025), https://thehill.com/homenews/education/5190161-

linda-mcmahon-education-department-mass-layoffs.

        3.     Far from being just a “first step,” the lay-offs are an effective dismantling of the

Department. Based on figures provided in the March 11 Press Release, the announced RIF

displaces approximately 1,378 employees, all of whom “will be placed on administrative leave”

beginning on March 21. March 11 Press Release. These employees join around 600 others who

took earlier buy-out offers. Id. The press release states that “[a]fter today’s actions, the

Department’s workforce will total roughly 2,183 workers,” an approximately 50% cut from the

4,133 workers the Department of Education had “[w]hen President Trump was inaugurated.” Id.

        4.     The RIF is so severe and extreme that it incapacitates components of the

Department responsible for performing functions mandated by statute, effectively nullifying those



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mandates. For example, seven regional offices of the Department’s Office for Civil Rights

(OCR)—including those in New York, Boston, San Francisco, Philadelphia, and Chicago—have

been closed down entirely. Juan Perez, Jr. & Rebecca Carballo, Education Department Documents

Detail Massive Scope of Agency Worker Terminations, Politico (Mar. 12, 2025),

https://www.politico.com/news/2025/03/12/education-department-documents-detail-agency-

worker-terminations-00226222.

       5.     This massive RIF is not supported by any actual reasoning or specific

determinations about how to eliminate purported waste in the Department—rather, the RIF is part

and parcel of President Trump’s and Secretary McMahon’s opposition to the Department of

Education’s entire existence. The Administration’s goal of eliminating the Department of

Education by any means necessary has been plainly and repeatedly stated: President Trump called

the Department “a big con job” and declared that he would “like to close it immediately.” Michael

C. Bender, Trump Is Said to Be Preparing Order That Aims to Eliminate Education Dept., The

New York Times (Mar. 6, 2025), https://www.nytimes.com/2025/03/06/us/politics/trump-

education-department-executive-order.html. He also stated that he would like Secretary McMahon

to put herself “out of a job.” Zachary B. Wolf, Trump and Musk are moving to smother these three

pieces of the government, CNN (Feb. 5, 2025). Secretary McMahon has affirmed that “President

Trump believes that the bureaucracy in Washington should be abolished so that we can return

education to the states, where it belongs,” and that she “wholeheartedly support[s] and agree[s]

with this mission.” Lexi Lonas Cochran, McMahon says she ‘wholeheartedly’ agrees with Trump

plan    to    abolish     Education     Department,      The     Hill    (Feb.     25,    2025),

https://thehill.com/homenews/education/5162816-mcmahon-abolish-education-department-

trump/. On March 3, 2025, Secretary McMahon asked employees to join her in “perform[ing] one



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final, unforgettable public service to future generations of students” by dismantling the Department

of Education. Secretary McMahon: Our Department’s Final Mission, U.S. Department of

Education (Mar. 3, 2025), https://perma.cc/F7BT-MQ3D. On the evening of March 11, Secretary

McMahon stated that “the President’s mandate,” his “directive to me, clearly, is to shut down the

Department of Education.” See Timotija, Education Secretary, cited supra ¶ 2.

       6.      But the Trump Administration cannot dismantle the Department of Education. It

cannot override—whether through large-scale RIFs or otherwise—the statutory framework

prescribing the Department’s responsibilities. As the Supreme Court put it nearly a century ago,

“[t]o Congress under its legislative power is given the establishment of offices [and] the

determination of their functions and jurisdiction.” Myers v. United States, 272 U.S. 52, 129 (1926).

And, thus, administrative agencies “are creatures of statute.” Nat’l Fed. of Indep. Bus. v. OSHA,

595 U.S. 109, 117 (2022).

       7.      Past attempts to eliminate the Department of Education have reflected these

limitations on executive power. President Reagan sought legislation to dismantle the Department

of Education, which Congress did not pass. See Ronald Reagan, Address Before a Joint Session of

the Congress Reporting on the State of the Union (Jan. 26, 1982) (“The budget plan I submit to

you . . . will realize major savings by dismantling the Departments of Energy and Education.”),

available at https://nationalcenter.org/ncppr/2001/11/04/ronald-reagans-first-state-of-the-union-

1982. Since then, numerous bills have been introduced to shutter the Department of Education.

See Mona Vakilifathi, Why Trump is Trying to Reduce the Status of the Department of Education,

Brookings Inst. (July 16, 2018), https://www.brookings.edu/articles/why-trump-is-trying-to-

reduce-the-status-of-the-department-of-education.     Each    of    these   efforts   reflects   the

uncontroversial understanding that only Congress may abolish an agency it created.



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       8.      And while Congress has granted the Secretary of Education—though not the

President—the authority to modestly restructure the Department of Education, she is expressly

limited to “allocat[ing] or reallocat[ing] functions among the officers of the Department” or

modifying “organizational entities within the Department as may be necessary or appropriate.” 20

U.S.C. § 3473(a). She is not permitted to eliminate or disrupt functions required by statute, nor

can she transfer the Department’s responsibilities to another agency outside of its statutory

authorization. Id.

       9.      Because neither the President nor his agencies can undo the many acts of Congress

that authorize the Department, dictate its responsibilities, and appropriate funds for it to administer,

the President’s directive to eliminate the Department of Education (“Directive”)—including

through the March 11 decimation of the Department’s workforce and any other agency

implementation—is an unlawful violation of the separation of powers, and the Executive’s

obligation to take care that the law be faithfully executed.

       10.     The Department’s implementation of the Directive, including through the March 11

RIF, is separately unlawful because it violates the Administrative Procedure Act (APA). It is

arbitrary and capricious, and contrary to law.

       11.     For these reasons, Plaintiff States seek declaratory and injunctive relief against the

Directive and any implementation of it by Secretary McMahon and the Department of Education,

including the March 11 RIF.

                                  JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (action

arising under the laws of the United States). Jurisdiction is also proper under the judicial review

provisions of the APA. 5 U.S.C. §§ 702, 704. An actual controversy exists between the parties



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within the meaning of 28 U.S.C. § 2201(a), and this Court may grant declaratory relief, injunctive

relief, and other relief pursuant to 28 U.S.C. §§ 2201–2202 and 5 U.S.C. §§ 705, 706.

        13.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1)

because a substantial part of the events or omissions giving rise to the claims asserted herein

occurred in this district, and Defendants are United States agencies or officers acting in their

official capacities.

                                               PARTIES

    A. Plaintiffs

        14.      Plaintiff State of New York is a sovereign state of the United States of America. As

a body politic and a sovereign entity, it brings this action on behalf of itself and as trustee, guardian,

and representative of all residents, and political subdivisions of New York. Attorney General

Letitia James is the chief law enforcement officer for New York.

        15.      Plaintiff Commonwealth of Massachusetts is a sovereign commonwealth in the

United States of America. Massachusetts is represented by Attorney General Andrea Campbell,

who is the chief law enforcement officer of Massachusetts.

        16.      Plaintiff State of Hawai’i, represented by and through Attorney General Anne E.

Lopez, is a sovereign state of the United States of America. The Attorney General is Hawai’i’s

chief legal officer and chief law enforcement officer and is authorized by Hawaii Revised Statutes

§ 28-1 to pursue this action.

        17.      Plaintiff State of California is a sovereign state in the United States of America.

California is represented by Attorney General Rob Bonta, who is the chief law enforcement officer

of California.




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       18.     Plaintiff State of Arizona, represented by and through its Attorney General, is a

sovereign state of the United States of America. Arizona is represented by and through its chief

legal officer, Kristin K. Mayes. See Ariz. Rev. Stat. § 41-192(A). Attorney General Mayes is

authorized to pursue this action on behalf of the State of Arizona. Id.

       19.     Plaintiff State of Colorado is a sovereign state in the United States of America.

Colorado is represented by and through its Attorney General Phil Weiser. The Attorney General

acts as the chief legal representative of the state and is authorized by Colo Rev. Stat. § 24-31-101

to pursue this action.

       20.     Plaintiff State of Connecticut is a sovereign state of the United States of America.

Connecticut is represented by and through its chief legal officer, Attorney General William Tong,

who is authorized under General Statutes § 3-125 to pursue this action on behalf of the State of

Connecticut.

       21.     Plaintiff State of Delaware, represented by and through its Attorney General,

Kathleen Jennings, is a sovereign state of the United States of America. The Attorney General is

Delaware’s chief law enforcement officer and is authorized to pursue this action pursuant to 29

Del. C. § 2504.

       22.     Plaintiff District of Columbia is a municipal corporation organized under the

Constitution of the United States. It is empowered to sue and be sued, and it is the local government

for the territory constituting the permanent seat of the federal government. The District is

represented by and through its chief legal officer, Attorney General Brian L. Schwalb. The

Attorney General has general charge and conduct of all legal business of the District and all suits

initiated by and against the District and is responsible for upholding the public interest. D.C. Code.

§ 1-301.81.



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        23.      Plaintiff State of Illinois is a sovereign state in the United States of America. Illinois

is represented by Attorney General Kwame Raoul, who is the chief law enforcement officer of

Illinois.

        24.      Plaintiff State of Maine is a sovereign state of the United States of America. Maine

is represented by its Attorney General, who is authorized to pursue this action pursuant to 5 Me.

Rev. Stat. § 191.

        25.      Plaintiff State of Maryland is a sovereign state of the United States of America.

Maryland is represented by Attorney General Anthony G. Brown, who is the chief legal officer of

Maryland.

        26.      Plaintiff the People of the State of Michigan is represented by Attorney General

Dana Nessel. The Attorney General is Michigan’s chief law enforcement officer and is authorized

to bring this action on behalf of the People of the State of Michigan pursuant to Mich. Comp. Laws

§ 14.28.

        27.      Plaintiff State of Minnesota is a sovereign state of the United States of America.

Minnesota is represented by Attorney General Keith Ellison, who is the chief law enforcement

officer of Minnesota.

        28.      Plaintiff State of Nevada is a sovereign state of the United States of America.

Nevada is represented by and through its chief legal officer, Attorney General Aaron D. Ford. The

Attorney General has the authority to file this suit to protect and secure the interests of the State.

NRS 228.170.

        29.      Plaintiff State of New Jersey is a sovereign state in the United States of America.

New Jersey is represented by Attorney General Matthew Platkin, who is the chief law enforcement

officer of New Jersey.



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        30.      Plaintiff State of Oregon is a sovereign state of the United States of America.

Oregon is represented by Attorney General Dan Rayfield, who is the chief law enforcement officer

of Oregon.

        31.      Plaintiff State of Rhode Island is a sovereign state in the United States of America.

Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

enforcement officer of Rhode Island.

        32.      Plaintiff State of Vermont is a sovereign state of the United States of America.

Vermont is represented by its Attorney General, who is the State’s chief legal officer and authorized

to pursue this action on behalf of the State. Vt. Stat. Ann. tit. 3, § 159.

        33.      Plaintiff State of Washington, represented by and through its Attorney General, is a

sovereign state of the United States of America. The Attorney General is Washington’s chief law

enforcement officer and is authorized under Wash. Rev. Code § 43.10.030 to pursue this action.

        34.      Plaintiff State of Wisconsin is a sovereign state of the United States of America.

Wisconsin is represented by Attorney General Josh Kaul, who is the chief law enforcement officer

of Wisconsin.

    B. Defendants

        35.      Defendant Linda McMahon is the Secretary of the United States Department of

Education and that agency’s highest ranking official. She is charged with the supervision and

management of all decisions and actions of the agency. She is sued in her official capacity. 20

U.S.C. § 3412.

        36.      Defendant the United States Department of Education is a cabinet agency within

the executive branch of the United States government that has been created by Congress. 20 U.S.C.




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§ 3411. Defendants United States Department of Education and Linda McMahon are jointly

referred to as “Agency Defendants.”

        37.     Defendant Donald J. Trump is the President of the United States. He is responsible

for the actions and decisions that are being challenged by Plaintiffs in this action and is sued in his

official capacity.

                                    LEGAL BACKGROUND

    A. The Executive Has No Authority to Incapacitate a Congressionally Created Agency.

        38.     It is a bedrock constitutional principle that the President and his agencies cannot

make law. Rather, they can only—and indeed, they must—implement the laws enacted by

Congress, including those statutes that create federal agencies and dictate their duties. The

Executive thus can neither outright abolish an agency nor incapacitate it by cutting away the

personnel required to implement the agency’s statutorily-mandated duties.

        39.     Article I, Section 1 of the United States Constitution enumerates that: “[a]ll

legislative Powers herein granted shall be vested in Congress.” U.S. Const. Art. I, § 1.

        40.     “The Framers viewed the legislative power as a special threat to individual liberty,

so they divided that power to ensure that ‘differences of opinion’ and the ‘jarrings of parties’ would

‘promote deliberation and circumspection’ and ‘check excesses in the majority.’” Seila Law LLC

v. CFPB, 591 U.S. 197, 223 (2020) (quoting The Federalist No. 70, at 475 (A. Hamilton) and No.

51, at 350).

        41.     “As Chief Justice Marshall put it, this means that ‘important subjects . . . must be

entirely regulated by the legislature itself,’ even if Congress may leave the Executive ‘to act under

such general provisions to fill up the details.’” West Virginia v. EPA, 597 U.S. 697, 737 (2022)

(Gorsuch, J., concurring) (quoting Wayman v. Southard, 10 Wheat. 1, 42–43, 6 L.Ed. 253 (1825)).



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       42.     Congress has exclusive authority to abolish executive agencies, and either

redistribute their functions to existing or newly created agencies, or to discontinue their functions.

See, e.g., Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135, §§ 471, 441, and 451(b)

(abolishing Immigration and Naturalization Service and transferring its functions to the newly-

created Department of Homeland Security); Foreign Affairs Reform and Restructuring Act of

1998, Pub. L. 105-277, Division G; 112 Stat. 2681 (abolishing several agencies and consolidating

their functions within the Department of State, and creating USAID as an independent executive

agency).

       43.     The Constitution vests executive power in the President. U.S. Const., art. II, § 1.

The primary function of the President is understood to be cabined in the “Take Care” clause, which

requires that the President “shall take Care that the Laws be faithfully executed.” U.S. Const., art.

II, § 3. Nothing in Article II can be construed to authorize the Executive to dismantle a statutorily

created agency directly or indirectly.

       44.     The Executive has no authority to enact, amend, or repeal statutes. Clinton v. City

of New York, 524 U.S. 417, 438 (1998). The Executive does not have, under the Constitution or

otherwise, an undefined “inherent” power, even in “emergency” circumstances, to unilaterally

decide to ignore statutes. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952).

       45.     Indeed, the Executive acts at the “lowest ebb” of his constitutional authority and

power when he acts contrary to “the express or implied will of Congress.” Id. at 637 (Jackson, J.,

concurring).

   B. The Statutory Framework Authorizing the Department of Education.

       46.     In 1979, pursuant to its constitutional authority, Congress established the

Department of Education, and many of its offices, by statute with the enactment of the Department



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of Education Organization Act. That Act made express findings about the importance of the

Department’s mission. Department of Education Organization Act, Pub. L. 96-88, 93 Stat. 669

(1979) (codified as amended at 20 U.S.C. §§ 3401–3510); see also 20 U.S.C. §§ 3411–3427

(offices); id. §§ 3401–3402 (findings and purpose).

       47.     “[P]rimary responsibility for establishing policy and providing funding for

elementary and secondary education rests with the states and instrumentalities therein,” but the

Department of Education “has primary responsibility for administering federal elementary,

secondary, and postsecondary education programs.” See Rebecca R. Skinner et al., A Summary of

Federal Education Laws Administered by the U.S. Department of Education, Cong. Rsch. Serv.

(Dec. 12, 2024) (hereinafter, “the Skinner Report”).

       48.     Over time, Congress has enacted more statutes authorizing additional functions for

the Department of Education and appropriating additional funds for it to administer. The major

statutes administered by the Department (as detailed in the Skinner Report, see id.) include:

                      a.      The Elementary and Secondary Education Act (ESEA). The ESEA

               (Pub. L. 89-10, as amended) was enacted in 1965 and was last reauthorized in 2015

               by the Every Student Succeeds Act (ESSA) (Pub. L. 114-95). Title I-A, the largest

               ESEA program, provides compensatory grants to local educational agencies

               (LEAs). Congress appropriates funds for ESEA on an annual basis.

                      b.      The Individuals with Disabilities Education Act (IDEA). In 1975,

               Congress enacted Pub. L. 94-142 (now known as the IDEA), which authorizes grant

               programs that support legally-mandated early intervention and special education

               services for children with disabilities from birth to age 21. The IDEA was last

               reauthorized in 2004 (Pub. L. 108-446). Over 90% of IDEA funds are appropriated



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      for Part B (Section 611), which provides funding for special education services for

      school-aged children. The authorization of appropriations for Part B is permanent.

      Funds for Part C—which authorizes state grants for infants and toddlers with

      disabilities—and Part D—which authorizes national activities—have been

      appropriated on an annual basis.

             c.      Higher Education Act of 1965 (HEA). The HEA (Pub. L. 89-329, as

      amended) was enacted in 1965. It was last comprehensively reauthorized by the

      Higher Education Opportunity Act of 2008 (HEOA) (Pub. L. 110-315) and has

      since been amended multiple times. Title IV of the HEA authorizes a number of

      student aid programs that assist students with postsecondary education expenses.

      These include the Federal Pell Grant program, the William D. Ford Federal Direct

      Loan program, and the Federal Work-Study program. The HEA also authorizes

      programs providing federal support directly to institutions of higher education

      through Title III and Title V. HEA programs are funded through a combination of

      discretionary and mandatory appropriations. Mandatory funding for the Direct

      Loan program is permanently authorized, and mandatory funding for the Federal

      Pell Grant program is permanently appropriated. Funding continues to be

      appropriated for other HEA programs annually.

             d.      Rehabilitation Act of 1973. Under the Rehabilitation Act of 1973

      (Pub. L. 93-112, as amended), the Department provides funds to support vocational

      rehabilitation services primarily through the State Vocational Rehabilitation

      Services Program, which supports services to help individuals with disabilities.

      Congress continues to appropriate funding for the program annually.



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                       e.      Civil Rights Laws. The Department is also charged with enforcing

               various civil rights laws that prohibit discrimination in all programs or activities

               that receive federal financial assistance (unless otherwise noted). These include

               Title VI of the Civil Rights Act of 1964 (Pub. L. 88-352, as amended); Title IX of

               the Education Amendments of 1972 (Pub. L. 92-318, as amended); Section 504 of

               the Rehabilitation Act of 1973 (Pub. L. 93-112, as amended); the Age

               Discrimination Act of 1975 (Pub. L. 94-135, as amended); and Title II of the

               Americans with Disabilities Act of 1990 (Pub. L. 101-336, as amended).

                       f.      Privacy Rights Laws. The Department also enforces laws that

               protect student privacy rights: (1) the Family Educational Rights and Privacy Act

               (FERPA); and (2) the Protection of Pupil Rights Amendment (PPRA).

       49.     Congress has granted the Secretary of Education limited discretion to reallocate

functions within the Department, but that authority is modest, and in no way includes the power

to eliminate statutorily-created functions. The Secretary is authorized to “allocate or reallocate

functions among the officers of the Department, and to establish, consolidate, alter, or discontinue

such organizational entities within the Department as may be necessary or appropriate.” 20 U.S.C.

§ 3473(a). “[B]ut the authority of the Secretary” under these provisions “does not extend to: (1) any

office, bureau, unit, or other entity transferred to the Department and established by statute or any

function vested by statute in such an entity or officer of such an entity, except as provided in

subsection (b); (2) the abolition of organizational entities established by this chapter; or (3) the

alteration of the delegation of functions to any specific organizational entity required by this

chapter.” Id. By statute, there are fourteen offices and programs that may be “consolidate[d],

alter[ed], or discontinue[d],” or have their “functions” “reallocate[d]” by the Secretary. Id.



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§ 3473(b)(1). Even then, however, the Secretary must give the congressional committees of

jurisdiction “a full and complete statement of the action proposed to be taken pursuant to this

subsection and the facts and circumstances relied upon in support of such proposed action,” and

then wait ninety days before acting. Id. § 4373(b)(2).

       50.     Thousands of employees have administered the many programs the Department is

mandated to operate. Nothing in the numerous statutes creating the Department and describing its

mandated functions can be construed as authorizing the Executive to gut an agency such that it can

no longer meet its statutory obligations.

   C. Requirements Governing RIFs.

       51.     The Department may engage in limited restructuring and downsizing of its

workforce through a RIF, “an administrative procedure by which agencies eliminate jobs and

reassign or separate employees who occupied the abolished positions.” James v. Von Zemenszky,

284 F.3d 1310, 1314 (Fed. Cir. 2002). But the Department’s authority to administer RIFs does not

override Congress’s exclusive authority to abolish executive agencies or to discontinue their

functions. And an agency cannot use a RIF to unilaterally cease implementing the agency’s

statutorily-mandated duties.

       52.     Consistent with those limits, any federal agency reducing staff pursuant to a RIF

must follow specific statutory and regulatory procedures. These include following required

retention preferences for employees. “[I]n any reduction in personnel in any civilian service of any

Federal agency, competing employees shall be released in accordance with Civil Service

Commission regulations which shall give due effect to tenure of employment, military preference,

length of service, and efficiency ratings.” James, 284 F.3d at 1314–15; see also 5 U.S.C. § 3502(a).




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       53.     All civilian employees in the executive branch of the federal government, including

employees of the Department of Education, are covered by the Office of Personal Management’s

(OPM) regulations regarding RIFs. 5 C.F.R. § 351.202(a). All agencies of the federal government

are required to follow the OPM regulations “when the agency determines that a [RIF] is necessary.”

5 C.F.R. § 351.204.

                                  FACTUAL ALLEGATIONS

       54.     The Department of Education operates programs that touch on nearly every aspect

and level of education. The Department’s elementary and secondary programs annually serve

nearly 18,200 school districts and over 50 million students attending roughly 98,000 public schools

and 32,000 private schools, while the Department’s higher education programs provide services

and support to more than 12 million postsecondary students.

   A. The Department of Education’s Support Across All Spectrums of Education.

       55.     The Department of Education is among the smallest federal agencies, yet it is

charged with performing an immense breadth of work.

               The Department’s Support for Birth-to-Grade 12 Educational Programs.

       56.     In federal fiscal year 2024, the Department directed 25.4% of its total spending to

states and local governments. The federal government provides 13.6% of the funding for public

K–12 education.

       57.     The two largest sources of federal funding for schools are Title I funding and IDEA

funding. The Department of Education distributes over $18 billion under the Title I program to

help support schools with high-poverty populations, providing benefits like extra staff to

supplement reading instruction. The Department disburses over $15 billion in IDEA funding,

which helps cover the costs of special education.



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       58.     Public education funding varies significantly across states. K–12 schools in Alaska

receive the most federal funding per pupil, followed by North Dakota. Utah and Kansas receive

the least federal funding per pupil. New York and Massachusetts are among those that receive the

least federal funding per pupil. Nevertheless, every state receives considerable federal funding and

services from the Department.

       59.     The K–12 funding provided by the Department supports a wide variety of

educational programs and needs: special education, including paying for assistive technology for

students with disabilities; the payment of teacher salaries, and benefits, school counselors, and

homeless liaisons; the professional development and salaries for special education teachers,

paraprofessionals, and reading specialists; transportation to help children receive the services and

programming they need; and physical therapy, speech therapy, and social workers.

       60.     For instance, Department of Education funding supports education of students with

disabilities, both in public and private schools. Funding through IDEA, 20 U.S.C. §§ 1400–1409,

pays for a broad range of special education services required by individualized education programs

(IEPs) for students with disabilities attending public schools. IDEA funding also helps school

districts pay for the costs of placing students with disabilities who need out-of-district placements

in special education schools and programs that can meet their needs. E.g., 34 C.F.R. §§ 300.145–

300.146. IDEA also provides funding for equitable services for students with disabilities attending

regular private schools. 34 C.F.R. §§ 300.130–300.138. IDEA funding helps support the cost of

salaries of special education teachers and other service providers who provide direct instruction

and services to students with disabilities, such as speech-language pathologists, reading specialists,

physical and occupational therapists, audiologists, psychologists, behavioral therapists, deaf and

hard of hearing instructors, and other service providers. IDEA funding also supports the cost of



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augmentative communication equipment and devices for students with disabilities with speech,

language or communication impairments. IDEA also funds the costs of providing Extended School

Year programs for students with disabilities who need continuous support outside of the academic

year to help students maintain their academic, social, behavioral, and communication skills. IDEA

funding also supports professional development activities for special education teachers and other

service providers who work with students with disabilities to better meet the students’ needs. IDEA

funding supports special education instruction and services to students with disabilities who are in

institutional settings.

        61.     The Department of Education also administers grants for various disaster and

emergency-related relief and preparations, through the Office of Elementary and Secondary

Education and the Department’s Disaster Recovery Unit.

        62.     Department of Education funding also supports early childhood education for

children from birth through kindergarten. For instance, the Preschool Development Grant Birth

through Five program is a $250 million competitive federal grant designed to improve states’ early

childhood systems by building upon existing federal, state, and local early care and learning

investments.

                The Department’s Role in Providing Administrative and Substantive
                Services for Birth-to-Grade 12 Education.

        63.     The       Department   of    Education’s   statutory   mission    includes   promoting

“improvements in the quality and usefulness of education through federally supported research,

evaluation and sharing of information.” 20 U.S.C. § 3402(4).

        64.     To that end, the Department of Education gathers data, identifies best practices in

pedagogy, and disseminates that research to educators and others. The Department also operates

several National Centers housed within the Institute of Education Sciences, all of which conduct

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research, collect and analyze data, and provide technical assistance to educators, parents, students,

policymakers, and the general public on a range of topics aimed at improving academic

achievement for all children and ensuring the effectiveness of educational programs. See 20 U.S.C.

§§ 3419, 9511(a) (establishing the Institute of Education Sciences); 20 U.S.C. § 9531(a)

(establishing a National Center for Educational Research); 20 U.S.C. § 9541(a) (establishing the

National Center for Education Statistics); 20 U.S.C. § 9561(a) (establishing the National Center

for Education Evaluation and Regional Assistance); 20 U.S.C. § 9567(a) (establishing the National

Center for Special Education Research). The Department, for example, creates resources to support

educators and school districts in meeting academic standards, providing education to children who

are English language learners, addressing school safety, bullying, and chronic absenteeism,

supporting children with significant behavioral issues, and other important topics.

       65.     The Department’s Office of English Language Acquisition, Language

Enhancement and Academic Achievement for Limited English Proficient Students oversees policy

for the education needs of linguistically and culturally diverse students. 20 U.S.C. § 3420.

       66.     The Student Privacy Policy Office implements FERPA and PPRA, both of which

specifically mandate the creation of an office and review board to investigate, process, review, and

adjudicate violations of the student privacy laws. 20 U.S.C. §§ 1232g(g), 1232h(f).

       67.     The Department’s Office of Safe and Healthy Schools administers, coordinates and

recommends policy for programs such as drug and violence prevention programs, character and

civic education, and a variety programs supporting students’ physical and mental health.

       68.     The Department’s Office of Special Education and Rehabilitative Services

(OSERS) provides guidance, technical assistance, and oversight of special education requirements

under the IDEA. 20 U.S.C § 3417. The Office of Special Education Programs, established within



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OSERS, administers programs concerning education of children with disabilities. 20 U.S.C.

§ 1402(a).

       69.     The Department provides guidance relating to the educational rights of students

who are homeless under the McKinney-Vento Homeless Assistance Act, 42 U.S.C. §§ 11301–

11481. Similarly, the Department provides guidance regarding protections for students in foster

care under the ESSA.

       70.     The Department collects and publishes data relating to education services across

the country. For example, it conducts the Civil Rights Data Collection, through which it compiles

and publishes data on a broad range of civil rights related topics that serve as a valuable resource

to state educational agencies.

               The Department’s Role in Safeguarding Equal Access to Public Education.

       71.     The Department of Education plays a critical role in safeguarding equal access to

public education through transparency and accountability. The Department’s Office for Civil

Rights (OCR) was created by Congress and has historically focused on ensuring that schools

provide equal access to education across diverse student bodies. 20 U.S.C. § 3413.

       72.     OCR directs, coordinates, and recommends policy for activities that are designed

to, among other things, comply with legislative and regulatory civil rights requirements. For

example, in May 2022, OCR announced proposed amendments to the Department of Education’s

regulations implementing Section 504 of the Rehabilitation Act of 1973. U.S. Department of

Education Announces Intent to Strengthen and Protect Rights for Students with Disabilities by

Amending     Regulations     Implementing      Section    504     (May     2022),    available    at

https://www.ed.gov/about/ed-offices/ocr/news-room#2022. As part of that process, OCR sought

and considered written suggestions from the public about how best to improve the current



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regulations. Id. In 2024, OCR also promulgated regulations implementing Title IX of the

Education Amendments of 1972, restoring strong protections against sexual harassment and

assault and reinforcing critical protections for LGBTQ+ students. Nondiscrimination on the Basis

of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 89 Fed. Reg.

33,474 (Apr. 29, 2024).

       73.     OCR is charged with enforcing and investigating alleged violations of various

federal civil rights laws that protect students against discrimination, including Title VI of the Civil

Rights Act of 1964, Title IX of the Education Amendments of 1972, Section 504 of the

Rehabilitation Act of 1973, and the Age Discrimination Act of 1975. OCR has a responsibility to

act in a reasonably prompt manner in response to alleged violations of these laws.

       74.     In FY 2024, OCR reviewed the highest volume of complaints ever, totaling 22,687

complaints. U.S. Department of Education Office for Civil Rights, 2024 Fiscal Year Annual Report

(2024), available at https://www.ed.gov/media/document/ocr-report-president-and-secretary-of-

education-2024-109012.pdf. That number represented an 18% increase over a previous record high

in FY 2023 of 19,201 complaints. Id.

       75.     In addition to their enforcement and investigative work, OCR has provided

trainings and technical assistance to state educational agencies and local educational agencies on

civil rights laws. For example, OCR provided training to state and local educational agencies

regarding digital accessibility of websites and other electronic documents for individuals who have

disabilities, including blindness.

               The Department’s Administration of Higher Education Programs and the
               Federal Student Loan System.

       76.     The federal student loan programs administered under Title IV of the Higher

Education Act of 1965, as amended, are central components of the financial aid provided to


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students in Plaintiff States. These programs are designed to provide critical assistance to

prospective students and expand access to higher education to students who could not otherwise

afford to pursue a degree or certificate.

       77.     The Department manages the federal student loan system through its Office of

Federal Student Aid (FSA), which handles loan disbursement, servicing and borrower assistance.

20 U.S.C. § 1018.

       78.     Included in this system is the administration of Pell Grants, work-study programs

and subsidized loans. The Department awards more than $120 billion a year in grants, work-study

funds, and low-interest loans to approximately 13 million students. Much of this funding is sent

directly to colleges and universities, including public colleges and universities in the Plaintiff

States. If Program Participation Renewals are not processed in a timely manner, it could impact

the ability of institutions to operate and most of their student to attend the institution by

functionally eliminating the availability of financial aid.

       79.     The Office of Federal Student Aid develops the Free Application for Federal

Student Aid (FAFSA) form and processes, with vendors, more than 17.6 million FAFSA forms

each year. The deadline for applicants to submit their FAFSA forms is June 30, 2025, although

many students submit their FAFSA forms earlier, as their decision about whether they can afford

to attend college and, if so, which college, is necessarily dependent on learning what financial aid

they qualify for. If FAFSA forms are not processed on time, this will mean that many students may

seek to delay their decisions about which college to attend, and many students will decide to

postpone attending college, for a year or indefinitely.

       80.     While the Department distributes this funding to institutions of higher education, it

also ensures that the institutions receiving Title IV funding are financially responsible. The



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Secretary of Education determines the standard of financial responsibility and enforces it as

required under the HEA. When something happens that could affect an institution’s financial

responsibility, the institution is required to notify the Department within 21 days. If such

notifications are no longer monitored by the Department, institutions that continue to receive Title

IV funding could engage in wasteful or unnecessary spending without repercussion.

       81.     Under the HEA, the Department enforces the requirement that institutions of higher

education provide counseling to new students as well as graduating students with information

about debt management and repayment. If the Department ceased enforcement of these programs,

it would become substantially more difficult to ensure that institutions provide this counseling.

Accordingly, students could lose the opportunity to make informed decisions about their student

loan debt, or could even become unwitting victims of predatory lending.

       82.     The Department’s responsibilities are not just financial. The Department manages

large-scale data collection and enforcement which would not be possible on a state-by-state basis.

Such data are described in various Congressional Acts and often implicate campus safety.

Collecting this vital data across states, and therefore monitoring nationwide trends, would be

infeasible for individual states to perform and would thereby go unenforced.

       83.     For instance, the Jeanne Clery Disclosure of Campus Security Policy and Campus

Crime Statistics Act (“Clery Act”) also requires colleges and universities to disclose, via an annual

report, certain crimes that occur in certain places if they are reported to certain people. See 20

U.S.C. § 1092; 34 CFR 668.46. If the Department no longer processed the notice and reports made

under this and other statutes, colleges and universities would lose a valuable partner in supporting

their compliance with these reporting requirements and in interpreting and responding to the




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information gathered, which in turn would impede the ability of colleges and universities to keep

their campus safe.

       84.     Similarly, the Department enforces reporting and compliance of campus safety with

regard to drug and alcohol use under the Drug Free Schools and Communities Act and the HEA.

These statutes require institutions of higher education to maintain policies surrounding illegal drug

and alcohol use, and to determine the number of drug- and alcohol-related violations and fatalities

associated with the institution. The Department collects this information from institutions and

ensures compliance. Were the Department to cease enforcement of these Acts, institutions would

no longer need to monitor and report this data, impacting campus safety.

       85.     The Violence Against Women Act requires the Secretary of Education to nationally

survey reports of sexual and domestic violence or harassment across institutes of higher education.

The Secretary of Education is required to report the data biennially, which institutions receiving

federal funding must in turn publish (at a campus level) on their websites. This allows current or

prospective students to make informed decisions regarding their place of education. Were the

Department to cease collection of this information, not only would campus safety be affected by

the lack of enforcement, but the Secretary of Education would be in violation of the Violence

Against Women Act.

       86.     The Family Educational Rights and Privacy Act (FERPA) is enforced by the

Department. It requires that institutions of higher education allow students to inspect their records,

and that institutions obtain written request before sharing such records with external personnel.

Lack of enforcement of FERPA places students’ data security and private records at risk.




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       87.     The Department’s Office of Postsecondary Education is responsible for

formulating federal postsecondary education policy and administering programs to support of

increased access to quality postsecondary education. 20 U.S.C. § 3415.

       88.     The Department is also responsible for vital aspects of higher education

accreditation. The accreditation of institutions of higher education is a joint process between the

educational institutions, states, the Department, and third-party accreditation authorities.

Accreditation ensures that educational institutions meet certain standards for quality and assures

students that a degree from that institution has and will continue to have value in the workplace.

The Department is responsible for reviewing the accreditation standards of agencies that review

programs and institutions of higher education. While some accrediting agencies work without

Department of Education recognition, these agencies need not conform to any standards of quality

or integrity. Without Department-recognized accreditation, institutions of higher education may

engage in profit-seeking behaviors without relating any educational benefits to students. Many

unaccredited institutions are profit-hungry “diploma mills,” which lack external quality control or

educational standards and whose diplomas are therefore meaningless to the job market and

worthless to graduates.

               The Department’s Programs Supporting Vocational Education and
               Rehabilitation.

       89.     The Department of Education provides both vocational education and vocational

rehabilitation services to help individuals gain skills for employment and support those with

disabilities in finding and maintaining jobs.

       90.     The Department’s Office of Vocational and Adult Education oversees programs that

assist adults with obtaining a high school diploma or the equivalent and support them in their

pursuit of postsecondary, career, or technical education.

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       91.     The Department’s Office of Career, Technical, and Adult Education (OCTAE)

administers and coordinates programs related to career and technical education, adult education

and literacy, and community colleges for advancing workforce development. 20 U.S.C. § 3416.

       92.     OCTAE’s Division of Academic and Technical Education (DATE) is responsible

for helping adult students acquire academic and technical skills to be prepared for high-skill, high-

wage, or high-demand occupations.

       93.     DATE administers formula and discretionary grant programs under the Carl D.

Perkins Career and Technical Education Act (Perkins V), 20 U.S.C. §§ 2301–2414, which is the

primary source of federal funding for career and technical education. DATE also provides

assistance to states to improve program quality, implementation, and accountability, and establish

national initiatives that help states implement rigorous career and vocational education programs.

       94.     DATE also administers the Perkins Collaborative Resource Network, which

provides resources and tools for state directors and state staff who administer career and technical

education programs.

       95.     OCTAE’s Division of Adult Education and Literacy (DAEL) administers adult

education and literacy programs that help adults acquire the basic skills they need including

reading, writing, math, English language proficiency, and problem-solving. The Office of

Correctional Education, which coordinates efforts to support educational opportunities in

correctional settings, is also located in DAEL.

       96.     DAEL administers formula grant programs to adults under the Adult Education and

Family Literacy Act (AEFLA) and Title II of the Workforce Innovation and Opportunity Act. 29

U.S.C. §§ 3271–3333; 29 U.S.C. §§ 3101–3361. These programs provide assistance to states to




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improve program quality, accountability, and capacity, and establish national leadership activities

to enhance the quality of adult education.

       97.     OCTAE provides national leadership to strengthen the role of community colleges

in expanding access to postsecondary education for youth and adults and advancing workforce

development.

       98.     OCTAE’s community college initiatives are designed to build public support for

community colleges as centers of innovation and providers of excellent education and training that

are affordable and accessible to all Americans, facilitate the dissemination of timely and actionable

guidance on community college educations for teachers, administrators, students, parents, and

employers, and promote the development of strategies that support students in the completion of

their postsecondary certification and degree programs.

       99.     The Department of Education also provides critical vocational rehabilitation

services and funding for individuals with disabilities through its Rehabilitation Services

Administration (RSA), a component of the Department’s Office of Special Education and

Rehabilitative Services (OSERS). 29 U.S.C. § 702. RSA provides leadership and resources to

assist state and other agencies in providing vocational rehabilitation and other services to

individuals with disabilities to maximize their employment, independence, and integration into the

community and the competitive labor market.

       100.    The Rehabilitation Services Administration funds and administers many programs,

including disability employment programs, an independent living program, technical assistance

centers, training programs, and disability innovation fund programs.




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       101.    Two disability employment programs—the State Vocational Rehabilitation

Services Program and the State Supported Employment Services Program—provide formula

grants to states to provide employment services for individuals with disabilities.

       102.    The State Vocational Rehabilitation Services Program is authorized by the

Rehabilitation Act of 1973 (Rehabilitation Act), as amended by Title IV of the Workforce

Innovation and Opportunity Act. This program provides grants to assist states in operating

statewide vocational rehabilitation programs, each of which is an integral part of a statewide

workforce development system.

       103.    The State Supported Employment Services Program is authorized by Title VI of the

Rehabilitation Act of 1973 (Rehabilitation Act), as amended by Title IV of the Workforce

Innovation and Opportunity Act. This program provides grants to assist states in developing and

implementing collaborative programs with appropriate entities to provide supported employment

services for individuals with the most significant disabilities, including youth with the most

significant disabilities, who require supported employment services following the achievement of

a supported employment outcome.

       104.    Supported employment grant funds are used to supplement funds provided under

the State Vocational Rehabilitation Services Program to provide supported employment services.

Program funds may be used to provide supported employment services, once an individual has

been placed in supported employment, for up to 24 months and to supplement other vocational

rehabilitation services necessary to help individuals with the most significant disabilities find work

in the integrated labor market.

       105.    The Rehabilitation Services Administration also provides Independent Living

Services for Older Individuals Who Are Blind formula grants to states under Title VII, Chapter II



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of the Rehabilitation Act of 1973, as amended by Title IV of the Workforce Innovation and

Opportunity Act, to support services for individuals age 55 or older whose severe visual

impairment makes competitive employment difficult to obtain but for whom independent living

goals are feasible.

       106.    The Rehabilitation Services Administration further provides critical technical

assistance, training programs, and disability innovation fund programs to states supported through

discretionary grants.

       107.     Certain technical assistance centers provide training and technical assistance to

states and state agencies including those that ensure: that transition-age youth with disabilities

receive high-quality education services, state agencies are trained to provide adequate vocational

rehabilitation services to individuals who are blind, the increase in number and quality of

employment outcomes for individuals with disabilities.

       108.    The Rehabilitation Services Administration also provides training programs and

assistance to states. For example, it administers training programs to help fund undergraduate and

graduate programs in the field of rehabilitation and training programs for the use of braille for

personnel providing vocational rehabilitation services or education services to youth and adults

who are blind. They also allow new and innovative training programs to improve methods of

training rehabilitation personnel for more effective delivery of rehabilitation services.

       109.    The Rehabilitation Services Administration also provides funds through Disability

Innovation Fund Programs (“Disability Innovation Fund”) to state agencies to conduct innovative

activities aimed at improving outcomes for individuals with disabilities. For example, these funds

allow evidence-based practices for individuals with disabilities to advance in high-demand and

high-quality careers, foster partnerships among agencies, evaluate new or substantially improved



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model strategies to transition youth and adults with disabilities to competitive integrated

employment, and increase the opportunity for Subminimum Wage to Competitive Integrated

Employment program participants to obtain competitive integrated employment.

               The Department’s Administration of Impact Aid.

       110.    Because school districts rely heavily on local property taxes for funding, property

tax exemptions on federal land create funding shortages for neighboring school districts. The

Impact Aid program, signed into law by President Harry Truman in 1950 (Pub. L. 815 and Pub. L.

874), is a critical method of ensuring the financial survival of local school districts whose revenue

is decreased due to the presence of non-taxable federal land. School districts that are near, or serve

students from, military bases, federal lands, federal low-rent housing facilities, and tribal

communities lose local revenue because of the presence of these nontaxable federal activities.

While these school districts typically continue to receive funding from their states, Impact Aid

funding partially reimburses school districts for this loss of locally-derived revenue.

       111.    The Department is the primary agency responsible for administering Impact Aid

payments to local school districts. See ESEA, Title VII, 20 U.S.C. § 7701–7714, 34 C.F.R. § 222.

Every year, each school district seeking Impact Aid must submit an application to the Department.

Typically this is January 31, though late application deadlines can extend to April 1 with payment

of a penalty. The Department reviews the applications and processes payments based on

congressional appropriations each fiscal year and allocates funding in multiple installments until

all available funds are distributed.

       112.    Many school districts within the Plaintiff States are heavily dependent on the

Department’s effective funding distribution and administration of Impact Aid due to the large

amount of nontaxable federal property within their boundaries, as the amount of Impact Aid



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received by each school district is based on the number of affected students who live on federal

property or whose parents work in federal facilities. School districts within Plaintiff States receive

hundreds of millions of dollars annually in Impact Aid funding for construction, special education,

maintenance, and operations.

       113.      The Impact Aid Program is the only K–12 Federal education program that is not

forward funded. Any delay in either appropriations or administration has an immediate impact on

Impact Aid-recipient school districts’ ability to fund day-today operations, instructional

expenditures, utility payments or payroll.

   B. The President’s Directive to Dismantle the Department of Education and the
      Secretary of Education’s Elimination of Nearly Half of the Department’s
      Workforce.

       114.      President Trump has publicly described his intention to dismantle the Department

of Education. That goal has been plainly and repeatedly stated: President Trump called the

Department of Education “a big con job” and declared that he would “like to close it immediately.”

See, e.g., Michael C. Bender, Trump Is Said to Be Preparing Order That Aims to Eliminate

Education         Dept.,     The       New        York        Times        (Mar.      6,       2025),

https://www.nytimes.com/2025/03/06/us/politics/trump-education-department-executive-

order.html. He also stated that he would like the newly installed Secretary of Education, Linda

McMahon, to put herself “out of a job.” Zachary B. Wolf, Trump and Musk are moving to smother

these three pieces of the government, CNN (Feb. 5, 2025) (“I told Linda, ‘Linda, I hope you do a

great job in putting yourself out of a job.’ I want her to put herself out of a job – Education

Department.”).

       115.      Secretary McMahon has indicated that she plans to heed this call and break down

the Department of Education from within. She affirmed that “President Trump believes that the



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bureaucracy in Washington should be abolished so that we can return education to the states, where

it belongs,” and that she “wholeheartedly support[s] and agree[s] with this mission.” Cochran,

McMahon, cited supra ¶ 5. On March 3, 2025, Secretary McMahon asked employees to join her

in “perform[ing] one final, unforgettable public service to future generations of students” by

dismantling the Department of Education. Secretary McMahon: Our Department’s Final Mission,

U.S. Department of Education (Mar. 3, 2025), https://perma.cc/F7BT-MQ3D.

         116.    On March 6, 2025, news outlets reported that the White House had drafted an

executive order calling on the Secretary of Education to “take all necessary steps to facilitate the

closure of the Department of Education (DOE) and return authority over education to the States

and local communities, the maximum extent allowed by law.”

         117.    On March 11, 2025, five days after reports of the draft executive order calling for

the Department’s dismantling, the U.S. Department of Education announced that its workforce is

being cut virtually in half. The Department described a massive reduction in force (RIF)—as part

of its “final mission”—that affects “[a]ll divisions within the Department.” U.S. Department of

Education       Initiates   Reduction    in    Force,    Press    Release    (Mar.    11,    2025),

https://www.ed.gov/about/news/press-release/us-department-of-education-initiates-reduction-

force.

         118.    Based on figures provided by the Department, the RIF displaces approximately

1,378 employees, all of whom “will be placed on administrative leave beginning Friday, March

21st.” The total reduction in force to the Department of Education is “roughly” 1,950 people: the

approximately 1,378 employees subject to the RIF, the 259 employees that accepted the so-called

“Fork in the Road” offer (referred to in the press release as the “Deferred Resignation Program”),

and the 313 employees that accepted a “Voluntary Separation Incentive Payment.” The press



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release states that “[a]fter today’s actions, the Department’s workforce will total roughly 2,183

workers,” an approximately 50% cut from the 4,133 workers the Department of Education had

“[w]hen President Trump was inaugurated.”

           119.   On March 11, 2025, Secretary McMahon stated, during an interview with Laura

Ingraham of Fox News, that the workforce reductions were the first steps in dismantling the

Department of Education:

           Ingraham:     Now, is this the first step on the road to a total shutdown?

           McMahon:      Yes, actually it is, because that was the President’s mandate. His
                         directive to me, clearly, is to shut down the Department of
                         Education, which we know we’ll have to work with Congress, you
                         know, to get that accomplished. But what we did today was to take
                         the first step of eliminating what I think is bureaucratic bloat.

See Fox News Channel, https://www.foxnews.com/video/6369901522112 (televised interview).

           120.   On information and belief, the RIF devastated important segments of the

Department of Education, rendering the agency unable to perform its core functions.

           121.   On information and belief, almost the entire staff of the Institute of Education

Sciences has been eliminated.

           122.   On information and belief, the majority of staff in the Office for Civil Rights have

been eliminated or otherwise removed. The Office for Civil Rights, created by Congress and

codified at 20 U.S.C. § 3413, enforces federal civil rights laws in schools and other recipients of

Department of Education funding, and directs, coordinates, and recommends policy for activities

that are designed to administer the provisions of legislation and Departmental policy prohibiting

discrimination on the basis of race, color, national origin, sex, handicap, or age. Regional offices

of the Office for Civil Rights in Boston, San Francisco, Cleveland, New York, Chicago, Dallas,

and Philadelphia have been eliminated and closed, with employees terminated in each of those

offices.
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       123.    The cuts to the Office for Civil Rights will have deep impacts on the Department

of Education’s ability to carry out its vital work. Given that the RIF heavily impacted investigative

staff, on information and belief the cuts will force remaining investigators to nearly double their

caseloads, severely limiting meaningful investigation of discrimination in schools.

       124.    On information and belief, the Office of General Counsel has also been gutted, with

many divisions eliminated and approximately three-quarters of OGC’s staff terminated. One such

eliminated division, the Ethics Division, is responsible for counseling current and past Department

employees on ethics matters. On information and belief, the Office of General Counsel advised

offices and units across the Department and its effective gutting will negatively impact the

Department’s ability to perform statutory functions.

       125.     On information and belief, all OGC attorneys specializing in K–12 grants, IDEA

grants, and equity grants have been terminated. The RIF has also resulted in the termination of

most OGC attorneys focused on privacy issues.

       126.     On information and belief, the RIF has had a material impact on the Office of

Special Education and Rehabilitation Services, which serves as the principal adviser to the

Secretary on Departmental matters related to special education and rehabilitative services. See 20

U.S.C. § 3417. In particular, the RIF may hamstring OSERS activities related to policy, program

and strategic planning, regulations, evaluation, and grant activities.

       127.    On information and belief, the RIF has also effectively eliminated the Office of

Elementary and Secondary Education’s State and Grantee Relations Team, which partners with

stakeholders and connects them to the resources and relationships they need to support and educate

students nationally.




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        128.   On information and belief, the RIF has also seriously impacted the Department of

Education’s FSA. FSA directs, coordinates, and recommends policies for programs that are

designed to provide financial assistance to eligible students enrolled in postsecondary educational

institutions. This assistance includes grants, loans, and work-study assistance to nearly 12.9

million students through approximately 6,100 postsecondary institutions.

        129.   Upon information and belief, given the impending challenges of students facing

renewed payments following the pandemic, the Department employed contractors to help

borrowers weather the resumed payments. Even prior to the RIF, it was reported on March 7, that

“the agency hasn’t been able to provide any communication to schools, servicers, or borrowers

about       how        to       navigate       the       changes        that      are       coming.”

https://edition.cnn.com/2025/03/07/politics/student-loans-education-trump. “And many staffers

with institutionalized knowledge about the aid programs have been fired or left.” Id.

        130.   In a public LinkedIn post, the Executive Director of the newly formed Office of

Loan Portfolio Management at Federal Student Aid wrote:

        When I accepted the position two months ago, I dove in, putting together a strategy
        for tackling the challenges that I knew would come with managing a group of 200
        dedicated public servants and shepherding 43M borrowers back into our complex
        repayment environment after a long payment pause and on-ramp. But now, I have
        lost many of those 200 staff, with more to come. I spend my days justifying our
        existence, our dignity, and our mission. I try to keep the work going in spite of the
        impossible environment we find ourselves in. I'm afraid of what the coming days,
        weeks, months, years will bring not just for me and the Department, but for the
        borrowers we serve. I've dedicated my career to the work of supporting college
        affordability and a student aid system that supports our most vulnerable, and it is
        heartbreaking to see that dissolving before my eyes. I'm not sure what the future
        will bring, but as always, I’m here to fight, to work for the mission, to do the right
        thing.

https://www.linkedin.com/feed/update/urn:li:activity:7299489353838350337.

        131.   On information and belief, within FSA, the RIF has resulted in the termination of

many of the Department’s employees in the School Eligibility and Oversight Services Group,
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which is responsible for administering a program of eligibility, certification, financial analysis, and

oversight of schools participating in Federal Student Aid programs. In order to receive Federal

Student Aid funds, schools must remain compliant with Title IV requirements and submit to audits

which confirm compliance. Department employees responsible for Title IV oversight ensure

compliance, process auditing results, and release Title IV funding timely.

       132.     On information and belief, the RIF has effectively eliminated FSA’s Vendor

Oversight Division, which oversees and assists federal student loan servicers. The Vendor

Oversight Division is responsible for ensuring that loan servicers fulfill their contracts while

meeting Department requirements. When such requirements are not met, it is responsible for

enforcing corrective action. For example, when the Higher Education Loan Authority of the State

of Missouri (MOHELA) failed to comply with its contractual requirements after the return to

repayment in August 2023, including mismanaging borrower accounts, the Department imposed a

corrective action plan on MOHELA, which the Vendor Oversight Division is responsible for

overseeing and defending. The Vendor Oversight Division also plays a key role in verifying

compliance with the requirements of the Public Service Loan Forgiveness (PSLF) program and

the Income-Based Repayment plan before instructing federal loan servicers to discharge a student’s

debt under these programs.

       133.    On information and belief, the RIF has eliminated key staff members in FSA’s

Product Management Group, including those responsible for the online income-driven repayment

application, Direct Loan Consolidation application, and PSLF Help Tool, which enables borrowers

to certify their qualifying employment for the PSLF Program.

       134.    In sum, on information and belief, the RIF has so severely impaired the Department

of Education that it can no longer function, and cannot comply with its statutory requirements.



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   C. The Incapacitation of the Department of Education Will Cause Grave Harm to the
      States and Their Residents.

       135.    The effective gutting of the Department of Education will result in a wide range of

devastating harms for Plaintiff States and their residents that could be neither prevented nor

mitigated.

       136.    The Directive and RIF will result in the loss of or delays in Department funding

and supports impacting nearly every aspect of K–12 education in the Plaintiff States because there

will be such a significant reduction in staff. These impacts will include teacher shortages from the

loss in salary funding, which in turn will result in increased class sizes. The impacts will also

include a loss of professional development and salaries for special education teachers,

paraprofessionals, reading specialists, physical therapists, speech therapists, and social workers,

which in turn will result in lost educational opportunities for students that cannot be recovered or

remedied. Without Department of Education financial support, states will lose critical services

from special education students and students with IEPs. States would lose funding for assistive

technology for students with disabilities, and funding for transportation to help children receive

the services and programming they need. The dismantling of the Department will also result in the

termination of afterschool programs.

       137.    Regardless of what alternative resources are put in the place of the Department of

Education, the process of the Department’s dismantling will create and has created chaos,

disruption, uncertainty, delays and confusion for Plaintiff States and their residents. States

anticipating federal fund disbursements do not know whether staff will be employed and able to

be contacted regarding those disbursements. Students at state universities do not know whether

their federal student aid packages will be timely processed and made available before the Fall 2025

semester begins.

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       138.    For instance, on March 12, 2025, the day after the RIF was announced, the

Department’s website for administering the distribution of federal funds (referred to as the “G6”

system) became unavailable. G6 was the Department system used for managing federal funds, and

allowed schools to request payments, adjust drawdowns, and return cash to the Department for

many Title IV programs. On March 12, the website for the G6 system stated: “G6.ed.gov will no

longer exist, G5.gov will be the correct URL. To access G5, external users should enter their G5

email ID and their G5 email password.”

       139.    When certain users then attempted to then access the G5.gov system for the

distribution of federal funds, the G5 website announced:

       ALERT: Due to severe staffing restraints, you can expect delays in connecting to a
       live help desk agent for assistance with G5. We recommend sending an email to
       obssed@servicenowservices.com with a summary of your issue or question. The
       next available agent during normal business hours will respond to your email in the
       order it was received.

       140.    On March 12, 2025, a user of the G5 system from the Massachusetts Department

of Elementary and Secondary Education attempted to access the G5 system in order to process a

request for anticipated disbursements of federal funds, but was unable to access the G5 system for

hours. The user was told that the G5 system was experiencing a “system glitch.”

       141.    The harms from the dismantling of the Department go beyond systems breakdowns

and unresponsive administrators.

       142.    On information and belief, the dismantling of the Department has more than

decimated the Office for Civil Rights (OCR). Without a functioning OCR, school districts in

Plaintiff States may be emboldened to restrict access to quality education and ignore complaints

of discrimination or hate against students based on race, gender identity, disability status, religion,

and immigration status. Students with current complaints will likely see no meaningful resolution,



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with cases backlogged due to the shortage of employees to resolve them. Students facing

discrimination, sexual harassment, or sexual assault will lose a critical avenue to report their case.

          143.   On information and belief, the dismantling of the Department will result in higher

costs to attend institutions of higher education. Not only will federal funding for Pell grants, work-

study programs and subsidized loans be at risk, but so too will the Department’s administration of

those programs, without which they cannot operate even if they were fully funded. Without these

federal programs supporting students of higher education, the cost of pursuing higher education

will increase and fewer students will have the opportunity to attend college. For many state

university systems, disruption to or loss of Pell grants would be an existential threat, especially to

their mission to serve first generation college students.

          144.   On information and belief, the gutting of the Office of General Counsel that has

resulted from the dismantling of the Department will have impacts throughout the Department’s

statutory and non-statutory functions. Without the now-eliminated Ethics Division, current

Department employees are now deprived of the counseling regarding ethics matters that govern

all manner of agency actions affecting Plaintiff States’ participation in Department programs. The

termination of all OGC attorneys specializing in K–12 grants, IDEA grants, and equity grants will

necessarily impede the Department’s ability to award and administer those grants to Plaintiff

States.

          145.   On information and belief, the RIF’s effective elimination of the Office of

Elementary and Secondary Education’s State and Grantee Relations Team signifies the Plaintiff

States’ loss of a critical partner in identifying and developing the resources and relationships

needed to support and educate students.




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       146.    On information and belief, the RIF’s impacts on the implementation of the Federal

Student Aid program will be monumental. By terminating many of the Department’s employees

in the School Eligibility and Oversight Services Group, the Department has lost the tool

responsible for administering a program of eligibility, certification, financial analysis, and

oversight of schools participating in Federal Student Aid programs. Moreover, with the effective

elimination of FSA’s Vendor Oversight Division, which oversees and assists federal student loan

servicers, Plaintiff States and their students lose tools to help ensure that loan servicers comply

with their contractual requirements.

       147.    On information and belief, in addition to these disruptions of the administration of

Federal Student Aid generally is the disruption that will come to the administration of FAFSA

applications specifically. With the destruction of these multiple aspects of the FSA program at the

Department, the Department is deprived of the administrative systems necessary to administer and

process the millions of FAFSA applications the Department receives. Indeed, the dismantling of

the Department comes just as the college admissions and decisionmaking process is at its peak,

with the FAFSA application deadline merely two and a half months from the RIF. The President’s

Directive and the Agency Defendants’ implementation of it has resulted in mass uncertainty

regarding whether and how FAFSA applications will be processed, and will result in delays and

obstructions in the immediate future.

       148.     On information and belief, without the Vendor Oversight Division’s verification of

compliance with the requirements of the Public Service Loan Forgiveness program and the

Income-Based Repayment plan, Plaintiff States and their educational institutions are deprived of

a system by which loan servicers receive instructions regarding the discharge of student debt under

FSA programs.



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                                      CAUSES OF ACTION

                                          Count I
      Violation of the Separation of Powers Doctrine – Usurping Legislative Authority
                                  (Against All Defendants)

       149.    The States reallege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       150.    Article I, Section 1 of the United States Constitution enumerates that: “[a]ll

legislative Powers herein granted shall be vested in . . . Congress.” U.S. Const. Art. I, Sec. 1.

       151.    “The Framers viewed the legislative power as a special threat to individual liberty,

so they divided that power to ensure that ‘differences of opinion’ and the ‘jarrings of parties’ would

‘promote deliberation and circumspection’ and ‘check excesses in the majority.’” Seila Law LLC,

591 U.S. at 223 (quoting The Federalist No. 70, at 475 (A. Hamilton) and No. 51, at 350).

       152.    Thus “‘important subjects . . . must be entirely regulated by the legislature itself,’

even if Congress may leave the Executive ‘to act under such general provisions to fill up the

details.’” West Virginia v. EPA, 597 U.S. 697, 737 (2022) (Gorsuch, J., concurring) (quoting

Wayman v. Southard, 10 Wheat. 1, 42–43, 6 L.Ed. 253 (1825)).

       153.    The separation of powers doctrine thus represents a central tenet of our

Constitution. See, e.g., Trump v. United States, 603 U.S. 593, 637–38 (2024); Seila Law LLC, 591

U.S. at 227.

       154.    Consistent with these principles, the Executive’s powers are limited to those

specifically conferred by the Constitution and federal statutes, and do not include any undefined

residual or inherent power.

       155.    Any instance where the President, by Executive Order or otherwise, directs an

agency to take an action that runs afoul of a statute or the legislative intent of Congress, violates

the Separation of Powers doctrine.
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       156.    Any instance where the President, by Executive Order or otherwise, directs that an

agency authorized by Congress to perform statutory duties cease operations, effectively repeals

the statutes that authorize that agency and thus violates the Separation of Powers doctrine.

       157.    Here, where Congress has created the Department of Education, the Executive and

his agencies cannot incapacitate it, absent Congressional action that directs them to do so. The

Actions challenged herein thus violate Constitutional and statutory mandates, contravene

Congressional intent, and are unlawful.

       158.    This court is authorized to enjoin any action by the Executive and his agencies that

“is unauthorized by statute, exceeds the scope of constitutional authority, or is pursuant to

unconstitutional enactment.” Youngstown Sheet & Tube Co. v. Sawyer, 103 F. Supp. 569, 576

(D.D.C. 1952), aff’d, 343 U.S. 579.

       159.    Pursuant to 28 U.S.C. § 2201, the States are also entitled to a declaration that the

President’s Directive and the Department of Education’s implementation of the Directive violates

the constitutional separation of powers doctrine, and impermissibly arrogates to the executive

power that is reserved to Congress.

                                           Count II
                  Violation of the Separation of Powers – Take Care Clause
                                   (Against All Defendants)

       160.    The States reallege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       161.    The Take Care Clause provides that the executive must “take Care that the Laws be

faithfully executed . . . .” U.S. Const. Art. II, Sec. 3; UARG v. EPA, 573 U.S. 302, 327 (2014)

(“Under our system of government, Congress makes the laws and the President . . . faithfully

executes them” (quotation and citation omitted)).



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       162.    The Executive violates the Take Care Clause where it declines to execute or

otherwise undermines statutes enacted by Congress and signed into law or duly promulgated

regulations implementing such statutes. See In re United Mine Workers of Am. Int’l Union, 190

F.3d 545, 551 (D.C. Cir. 1999) (“the President is without authority to set aside congressional

legislation by executive order”); Kendall v. United States, 37 U.S. 524, 613 (1838) (rejecting

argument that by charging the President with faithful execution of the laws, the Take Care clause

“implies a power to forbid their execution”).

       163.    By issuing the Directive to dismantle an agency authorized by Congress, the

President has failed to faithfully execute the laws enacted by Congress in violation of the Take

Care Clause.

       164.    This court is authorized to enjoin any action by the Executive and his agencies that

“is unauthorized by statute, exceeds the scope of constitutional authority, or is pursuant to

unconstitutional enactment.” Youngstown Sheet & Tube Co., 103 F. Supp. at 576, aff’d, 343 U.S.

579.

       165.    Pursuant to 28 U.S.C. § 2201, the States are also entitled to a declaration that the

Directive and the Department of Education’s implementation violates the constitutional separation

of powers doctrine, and impermissibly arrogates to the executive power that is reserved to

Congress.




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                                           Count III
                          Ultra Vires – Conduct Outside the Scope of
                        Statutory Authority Conferred on the Executive
                                   (Against All Defendants)

       166.    The States reallege and incorporate by reference the allegations set forth in the

preceding paragraphs.

       167.    Neither the President nor an agency can take any action that exceeds the scope of

their constitutional and/or statutory authority.

       168.    Federal courts possess the power in equity to grant injunctive relief “with respect

to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

U.S. 320, 326–27 (2015). Indeed, the Supreme Court has repeatedly allowed equitable relief

against federal officials who act “beyond th[e] limitations” imposed by federal statute. Larson v.

Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).

       169.    Defendants’ conduct in issuing the Directive and the Department of Education’s

implementation of it is contrary to law and outside of Defendants’ authority.

       170.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

Directive and the Department of Education’s implementation of it is contrary to law and outside

of Defendants’ authority.

       171.    Plaintiff States are further entitled to a preliminary and permanent injunction

preventing Agency Defendants from implementing the Directive.

                                          Count IV
              Violation of the Administrative Procedure Act – Contrary to Law
                                (Against Agency Defendants)

       172.    Plaintiff States incorporate by reference the allegations contained in the preceding

paragraphs.

       173.    Agency Defendants are “agenc[ies]” under the APA. 5 U.S.C. § 551(1).

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        174.    Under the APA, a court must “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,” or

“in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

§ 706(2)(B)–(C).

        175.    Congress enacted the APA “as a check upon administrators whose zeal might

otherwise have carried them to excesses not contemplated in legislation creating their offices.”

Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (quoting U.S. v. Morton Salt, 338

U.S. 632, 644 (1950)). In Loper Bright, the Supreme Court clarified that historical principles of

“respect” did not equate to deference, and that “Section 706 makes clear that agency interpretations

of statutes—like agency interpretations of the Constitution—are not entitled to deference.” Id. at

392 (emphasis in original). Rather, it “remains the responsibility of the court to decide whether the

law means what the agency says.” Id. (quoting Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 109

(2015) (Scalia, J., concurring in judgment)).

        176.    An agency may not take any action that exceeds the scope of its constitutional or

statutory authority.

        177.    No constitutional or statutory authority authorizes the Department of Education to

refrain from fulfilling its statutory duties, or to violate federal law.

        178.    An agency likewise may not violate its own regulations. When a federal agency

promulgates “[r]egulations with the force and effect of law,” those regulations “supplement the

bare bones” of federal statutes. United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 265

(1954). “It is an abecedarian principle of administrative law that agencies must comply with their

own regulations.” Manguriu v. Lynch, 794 F.3d 119, 122 (1st Cir. 2015) (citation omitted). An

agency’s action may be set aside pursuant to the APA if the action violates the agency’s own



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procedures, particularly if that error prejudices the interest of a person before the agency. See

Wilson v. Comm’r of Soc. Sec., 378 F.3d 541, 545–46 (6th Cir. 2004); see also Town of Weymouth,

Mass. v. Mass. Dep’t of Env’t Prot., 961 F.3d 34, 47 (1st Cir. 2020), on reh’g, 973 F.3d 143 (1st

Cir. 2020) (“[A]n agency action may be set aside as arbitrary and capricious if the agency fails to

‘comply with its own regulations.’” (quoting Nat’l Envtl. Dev. Ass’n’s Clean Air Project v. EPA,

752 F.3d 999, 1009 (D.C. Cir. 2014)).

       179.    The Agency Defendants lack authority to implement the Directive as it calls for

actions that are not authorized by statute, and are in direct contravention of statutory authority

governing the creation and operation of the Department of Education. The Agency Defendants also

lack authority to use a RIF to override the limitations on their own power to dismantle statutorily-

mandated agency functions. These agency actions are unauthorized, unprecedented, and not

entitled to deference by this Court.

       180.    In enacting the Directive, the Agency Defendants have acted contrary to the

applicable regulations governing the administration of Department functions.

       181.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

declaration that the Agency Defendants lack legal authority to implement the Directive, contrary

to congressional directive and intent, and have, in so doing, acted contrary to law, outside of

statutory authority, and in violation of the APA.

       182.    Plaintiff States are also entitled to vacatur of the Department of Education’s

implementation of the Directive, and a preliminary and permanent injunction preventing the

Agency Defendants from implementing the Directive.




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                                         Count V
                      Violation of the Administrative Procedure Act –
                     Arbitrary & Capricious and an Abuse of Discretion
                               (Against Agency Defendants)

       183.    Plaintiff States incorporate by reference the allegations contained in the preceding

paragraphs.

       184.    Defendants include “agenc[ies]” under the APA 5 U.S.C. § 551(1).

       185.    The APA requires that a court “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

       186.    An agency action is arbitrary or capricious where it is not “reasonable and

reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). An agency

must provide “a satisfactory explanation for its action[,] including a rational connection between

the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation marks omitted).

       187.    That “reasoned explanation requirement of administrative law . . . is meant to

ensure that agencies offer genuine justifications for important decisions, reasons that can be

scrutinized by courts and the interested public.” Dep’t of Commerce v. New York, 588 U.S. 752,

785 (2019). Agencies may not rely on explanations that are “contrived” or “incongruent with what

the record reveals about the agency’s priorities and decisionmaking process.” Id.

       188.    An action is also arbitrary and capricious if the agency “failed to consider . . .

important aspect[s] of the problem” before it. Dep’t of Homeland Sec. v. Regents of the Univ. of

Calif., 591 U.S. 1, 25 (2020) (quoting Motor Vehicle Mfrs., 463 U.S. at 43).

       189.    The Department’s mass RIF is arbitrary and capricious because the Department

provided no reasoned basis or explanation for its mass RIF.

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        190.   The Department’s RIF is arbitrary and capricious because the Agency Defendants

failed to consider the consequences of their actions.

        191.   The Department’s RIF is arbitrary and capricious because the Department’s stated

reasons for the RIF—to promote “efficiency” and “accountability” —are pretext for the President

and Secretary McMahon’s stated goal of dismantling the Department from within.

        192.   The Department’s RIF is arbitrary and capricious because the Agency Defendants’

actions impede their ability to perform the Department’s functions, both those that are required by

statute and those that are not.

        193.   Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

declaration that the Agency Defendants’ actions implementing the Directive violate the APA

because they are arbitrary and capricious.

        194.   Plaintiff States are also entitled to vacatur of the Agency Defendants’

implementation of the Directive pursuant to 5 U.S.C. § 706, and a preliminary and permanent

injunction preventing Agency Defendants from implementing the Directive.

        195.   Under the APA, a court must “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,” or

“in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

§ 706(2)(B)–(C).

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff States pray that this Court:
      i.   Issue a judicial declaration that President Trump’s Directive to dismantle the

           Department of Education, and the Department of Education’s implementation of the

           Directive are unlawful because they violate the United States Constitution and the

           Administrative Procedure Act;

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ii.    Pursuant to 5 U.S.C. § 706, vacate Agency Defendants’ actions implementing

       President Trump’s Directive to dismantle the Department of Education;

iii.   Preliminarily and permanently enjoin the Agency Defendants from implementing

       President Trump’s Directive to dismantle the Department of Education, including

       through ordering a reduction in force;

iv.    Award the Plaintiff States their reasonable fees, costs, and expenses, including

       attorneys’ fees, pursuant to 28 U.S.C. § 2412; and

 v.    Grant other such relief as this Court may deem proper.




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Dated: March 13, 2025                               Respectfully submitted,

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